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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     KEENAN G. WILKINS,                                Case No. 16-cv-00221-SI
                                   8                    Plaintiff,
                                                                                           ORDER: (1) DENYING MOTION TO
                                   9             v.                                        ALTER OR AMEND; (2) GRANTING
                                                                                           CERTIFICATE OF APPEALABILITY
                                  10     JEFF MACOMBER,                                    ON MERITS OF CLAIMS 2, 8, 21, 22,
                                                                                           AND EXHUASTION OF CLAIM 23
                                  11                    Defendant.
                                                                                           Re: Dkt. No. 162
                                  12
Northern District of California
 United States District Court




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                                              On April 25, 2022, petitioner Keenan Wilkins filed a motion to alter or amend this Court’s
                                  14
                                       order denying him Section 2254 habeas relief. Dkt. Nos. 162 (motion), 159 (order). Petitioner’s
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                                       motion is directed at Claims 8, 2, 22, and 23. The Court has reviewed the arguments raised in the
                                  16
                                       moving papers and concludes alteration or amendment of this Court’s prior judgment is not
                                  17
                                       appropriate under Fed. R. Civ. P. 59(e) or 60(b). The motion is DENIED.
                                  18
                                              Pursuant to Rule 11 Governing Section 2254 Cases in the U.S. District Courts, the Court
                                  19
                                       GRANTS a Certificate of Appealability on the merits of Claims 2, 8, and 22. The Court also
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                                       GRANTS a Certificate of Appealability the proper scope of exhaustion for Claim 23, as well as a
                                  21
                                       Certificate of Appealability on the merits of Claim 21.
                                  22

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                                              IT IS SO ORDERED.
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                                       Dated: June 24, 2022
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                                                                                       ______________________________________
                                  26                                                   SUSAN ILLSTON
                                                                                       United States District Judge
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